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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig             *         MDL 2179
      “Deepwater Horizon” in the Gulf       *
      of Mexico, on April 20, 2010          *         SECTION “J”
                                            *
This Document Relates To:                   *         JUDGE BARBIER
                                            *
No. 15-4143, 15-4146 & 15-4654              *         MAG. JUDGE SHUSHAN

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                             ORDER AUTHORIZING
                    DISBURSEMENT OF ADMINISTRATIVE COSTS

       Considering the Motion for Disbursement of Administrative Costs filed by the Claims

Administrator for the New Class, Michael J. Juneau;

       IT IS HEREBY ORDERED that:

       The Settlement Fund Escrow Agent is hereby authorized and directed to issue payment

on the following two invoices as Administrative Costs pursuant to Section 8(c) of the Halliburton

and Transocean Punitive Damages and Assigned Claims Settlement Agreements:

               Garden City Group invoice dated February 5, 2016 in the amount of $64,619.00;
                and

               Juneau David, APLC invoice dated February 5, 2016 in the amount of
                $52,016.40.

       New Orleans, Louisiana, this _____ day of ________________, 2016.



                                                      ____________________________________
                                                      CARL J. BARBIER
                                                      UNITED STATES DISTRICT JUDGE




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